                                  JUDGE
           Case: 1:22-cr-00208 Document #: 1 KENNELLY
                                             Filed: 04/06/22 Page 1 of 4 PageID #:1

        ED
                               MAGISTRATE JUDGE MCSHAIN
    FIL
      /2022
                             EY                                        1:22-CR-208
      4/6
             . BRUTO    N      UNITED STATES DISTRICT COURT
   THOMA.SDG
           IS T R IC T COURT
CLERK, U.S                     NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIYISION


    UNITED STATES OF AMERICA                   )
                                               )        Case No.
                     v.                        )
                                               )        Violations: Title 26, United States
    JOSEPH J. CIPOLI,A, JR.                    )        Code, Sections 72Ol and 7203


                                            COUNT ONE

            THE SPECIAL APRIL 2027 GRAND JURY charges:

            1.       At times material to this indictment:

                     a.    The Internal Revenue Service was an agency of the United States

    Department of Treasury, responsible for administering and enforcing the tax laws of

    the United States. Under these laws, individuals were required to accurately report

    income to the Internal Revenue Service on individual income tax return forms (Form

    1040 with schedules and attachments) and pay all income tax and tax penalties due

    and owing. If a taxpayer failed accurately to report or pay his or her tax liability, the

    Internal Revenue Service could calculate, assess, and attempt to collect the correct

    tax liability.

                     b.    Defendant JOSEPH        J.   CIPOLI"A, JR. ("CIPOLLA") was a

    resident of the Northern District of Illinois.

                     c.    CIPOLLA and Individual AA were partners in the operation of

    Company A, a business which sold vehicles and performed automobile repair services

    in the Northern District of Illinois.
      Case: 1:22-cr-00208 Document #: 1 Filed: 04/06/22 Page 2 of 4 PageID #:2




                d.    In   addition   to his   business involvement   with   Company A,

CIPOLLA brokered the purchase and resale of vehicles by Company B. In particular,

CIPOLLA located so-called "classic cars" for Company B to purchase for the purpose

of resale at a profit following repair and restoration of the vehicles. Company B paid

commissions to CIPOLLA that consisted of 50% of the net profit from the resale of

vehicles that CIPOLLA located for purchase and resale by Company B.

                e.    Casino A was a casino gaming business located     in the Northern

District of Illinois. Casino A reported to the Internal Revenue Service on Form W-zG

gambling winnings above a certain threshold. Casino A included the social security

number of the individual whose winnings were reported on Form W-2G.

                f.    Prior to 2015, CIPOLLA established a rewards account with

Casino   A that allowed CIPOLLA to earn certain        benefi.ts or rewards   at   Casino   A

based on the volume of CIPOLLA's gaming activity at Casino A. No later than in or

about mid-January 2075, CIPOLLA provided a false social security number to

Casino   A; in particular, CIPOLI"A falsely represented to Casino A that the social

security number of one of CIPOLLA's relatives was his own. By supplying a false

social security number to Casino A, CIPOLLA induced Casino A to transmit to the

Internal Revenue Service Forms W-2G for CIPOLI"A's gambling winnings that were

associated.   with CIPOLLA's relative rather than CIPOLL,A.

       2.      During calendar year 2015, CPOLI,A received gross               income of

approximately $L27,253 from Company            B as commissions paid to      CIPOLLA by
      Case: 1:22-cr-00208 Document #: 1 Filed: 04/06/22 Page 3 of 4 PageID #:3




Company B for locating vehicles that were purchased and resold             at a profit by

Company B. CIPOLLA was required by law, following the close of calendar year 2OL5,

and on or before April 75,2016, to frle a Form 1040 individual income tax return with

the Internal Revenue Service and to pay any such income tax that was due and owing.

       3.    After consideration of other business and income-generating activity

that CIPOLLA      engaged    in during    2015, including activity associated with

Company A, CIPOLLA had an income tax due and owing to the Internal Revenue

Service.

      4.     CIPOLLA failed to file a Form 1040 individual income tax return for

calendar year 20L5 on or before April 15, 2016.

      5.     During calendar year 2015, and continuing thereafter until the date of

this indictment, in the Northern District of Illinois, Eastern Division,

                              JOSEPH J. CIPOLI,A, JR.

defendant herein, did willfully attempt to evade and defeat the federal income tax

due and owing by him to the United States for the calendar year 2OI5 by committing

the following affirmative acts, among others:

             a.     maintaining a false social security number at Casino A; and

             b.     handling his affairs in a manner so as to avoid the creation and

maintenance of customary business and accounting records concerning actual

revenues received and expenses incurred;

      In violation of Title 26, United States Code, Section 720L.
      Case: 1:22-cr-00208 Document #: 1 Filed: 04/06/22 Page 4 of 4 PageID #:4




                                      COUNT TWO

      The SPECIAL APRIL 202L GRAND JURY further charges:

      On or about   April   18, 2016, in the Northern District of Illinois,

                               JOSEPH J. CIPOLLA, JR.,

defendant herein, a resident of the Northern District of Illinois, having received gxoss

income in excess of the amount required to file an income tax return, and thereby

being required by law to fiIe an income tax return (Form 1040 with schedules and

attachments) following the close of calendar year 2015 and on or before April 15,2076,

willfully failed to make and flle such return at the time required by law;

      In violation of Title 26, United States Code, Section 7203.



                                                 A TRUE BILL:



                                                 FOREPERSON




UNITED STATES ATTORNEY
